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Richard M. Zelma
Plaintiff
VS.

SUNPOWER, a FOREIGN PROFIT
CORPORATION;
and, GENRENEW LLC; a New Jersey
LIMITED LIABILITY COMPANY;
and, CHRISTOPHER S. SABIN SR., as
MANAGING MEMBER
and, MICHAEL
MANAGING MEMBER
and, TELEMARKETERS calling fro
LOCAL SPOOFED N.J. NUMBERS an
Does’ (1-5) and ABC Corporations’ (1-5);
each acting individually, in concert or as
group.

MULLEN a

DEFENDANTS’

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

CIVIL ACTION NO. 2:19-cv-20542

BRIEF OF RICHARD M. ZELMA IN SUPPORT

OF PLAINTIFFS OPPOSITION TO
DEFENDANTS MOTION TO DISMISS

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OPPOSITION TO DEFENDANTS MOTION TO DISMISS

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Plaintiff Richard M. Zelma, pro se\

On the Brief

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Plaintiff Richard M. Zelma submits this Brief in Opposition to the Defendants
Motion to Dismiss and challenges the claims made by the defendants and supportive

papers.

Plaintiff has been a consumer privacy advocate for 26 years. As such, being
opposed to the plethora of telemarketing calls and the increase in unlawful robo calls,
Plaintiff has taken the tools afforded him by Congress, mainly The Telephone
Consumer Protection Act of 1991 (TCPA), and has used that as intended, to stop and
deter those willing to thwart the law by bring such matter to Court.

Ironically, the Defendants don't like that; an ordinary individual having no
legal training can bring suit against someone for breaking the law. And in showing
their hatred for such matter, devoid of no actual defense to the allegations in
Plaintiffs Complaint, the Defendants resort to the only response available, to defame
the name of Plaintiff by resorting to name calling such as “Serial Plaintiff” or “Serial
Filer.”.

While the TCPA was implemented to protect and be used by the 'ordinary'
consumer; where its terms for violations are “monetary damages” in “hope of”
deterring continued wrongdoing, not once does the TCPA state where a plaintiff can
bring only one suit in a lifetime.

The never ending bombardment of daily unwanted calls continue. Congress did
not intend the consumer become a powerless victim, barred from further legal action.

(See, E.g., Cunningham, 251 f. Supp. 3d At 1195 - 96 (“the Statutory damages

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available under the TCPA are, in fact, specifically designed to appeal to Plaintiffs’
self interest and to direct that self interest toward the public good: ‘like statutory
compensation for whistle-blowers,’ they operate as bounties, increasing the incentives
for private Enforcement of law.’ . . . While these schemes do not eliminate the
constitutional requirement of Injury-In-Fact, neither do they impose an additional
hurdle simply because the plaintiff may have a motive beyond mere compensation for
his injury.”); Id. At 119 5 (“ Nothing in the constitution . . . requires a plaintiff to be
a naif. Litigation is not college athletics. There is no ‘amateurs Only’ Rule. ”).

In a failed attempt to support their name calling, the Defendants resort to “an
article” in the (Fake News) New York Times from 1999, in which reporter (Debra
Galant) called plaintiff after seeing one of his filed suits, wanting to know the ins and
outs of suing a telemarketer. While Plaintiff clearly stated he is not an attorney and
cannot offer any advice, legal or otherwise, he encouraged the reporter to simply look
up the law and go from there.

The reporter was not satisfied, continued to inquire about the law and Plaintiffs
history, where Plaintiff simply said, “I cannot comment”, again referring her to look
up the law. Not being aware that the short interview would become news, Plaintiff
was called by a relative several weeks later informing him of the story.

Plaintiff reached out to that reporter to inform her that none of the claims were
true, such as “making enough money to buy a small yacht”. Ms. Galant agreed to that
and other manufactured claims in the article. However responding to plaintiff, “I had

to spark interest in the reader, I'm looking for a good juicy story!”

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With that and despite the fact not one statement parroted from that article by
the defense is true, the reporter refused to take it down but nonetheless, the defense
swears to its accuracy. (SEE: Certification of attorney Freijomil)

The Defense applies the foregoing prevarication, to defend the clients unlawful
actions and how they believe no violations took place. Likewise, the Defense
expounds on their belief that Plaintiff is a serial litigator while ignoring the fact they
are serial violators! (Defendants EXHIBIT 1)

Plaintiff has history with defendant SunPower and their use of “dealers and
sub-dealers” as they call them. In July 2018, Defendant SunPower and a different
dealer entered into a settlement agreement with Plaintiff to avoid the perils of
potential litigation. Additionally, while PACER has a municipality of filed complaints
against SunPower, which need not be repeated here, it should be noted where the
abundance of evidence thereto is that SunPower has no Federal Required compliance
procedures in place, neither does its dealers, hence creating SunPower and its dealers

litigation history.

PLAINTIFE’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

Plaintiff submits this memorandum in opposition to the Motion to Dismiss and
supporting memorandum filed by Defendants SunPower and GenRenew (“the
Motion”).

OVERVIEW
This suit is based on the Telephone Consumer Protection Act (47 U.S.C. 227;

“the TCPA”) and common law civil conspiracy, for autodialed telemarketing calls.

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Plaintiff contends that Defendants collaborated in an effort to disseminate their
“products and services” via [tele]marketing calls to thousands of homeowners without
their express prior consent or invitation as required under the TCPA.

The purpose of the calls were to inquire if the called party knew about solar
energy, thus “selling” the idea of free energy. In some instances the callers were lead
generators or call centers working directly, hired by or under contract with the
defendants and each of them.

Defendants used databases of home owner numbers, including list from
database brokers to target the most fertile recipients. This enabled Defendants to
“avoid” calling tenants, renters or transients. Although the allegations are sufficient
to survive the Motion, discovery is expected to illuminate the participation by each
member of the consortium. The argument is also premature, since Plaintiff has not
had an opportunity to obtain discovery from the Defendants on the very facts they
rely upon in their argument on this point.'! The allegations of agency and conspiracy
among the defendants, described below, are more than adequate to overcome this
argument.

Plaintiff will likewise explore the Defendants claim; “they were not marketing
a product or service” when discovery of the critical facts at issue is obtained. At
present, the Defendants rely on its motion to dismiss thus avoiding discovery.

STATEMENT OF FACTS

1 As the Motion is only to test the adequacy of the pleadings, specific
evidence supporting Plaintiff’s allegations will be presented when the case is
ripe for such presentation.

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The Defense argues they only called Plaintiff to discuss “alternative energy”.
(Compl. 946.) The defense fails to admit the caller refused to provide any identity to
themselves. (Compl. 947) Moreover, the defense fails to address the spoofed caller ID
in which the good name of PSE&G was used as the caller.

And while the defense is under some belief where Plaintiff is required to notify
an unknown, unidentified unlawful caller that he does not wish to receive these calls,
Plaintiff is relieved of such obligation by the TCPA and his placing his number on the
FTC registry in 2003. *

Courts that have considered whether a plaintiff has a duty to mitigate damages

under Section 227 of the TCPA, finding: there is no such duty! See Holtzman _v.

Turza, No. 08 C 2014, 2010 WL 3076258, at *5 (N.D.IIl. Oct. 29, 2010); Fillichio v.

M.R.S Associates, Inc., No. 09-612629-CIV, 2010 WL 4261442, at *5 (S.D.Fla. Oct.

19, 2010); State ex rel. Charvat vy. Frye, 114 Ohio St.3d 76, 868 N.E.2d 270, 275

(2007); Manuf. Auto Leasing, Inc. v. Autoflex Leasing, Inc.. 139 S.W.3d 342, 347

(Tex.Ct.App.2004); Onsite Computer Consulting Svs., Inc. v. Dartek Computer Supply

Corp., No. 05AC-000108 I CV, 2006 WL 2771640, at *4 (Mo.Cir. May 17, 2006);

Jemiola v. XYZ Corp., 126 Ohio Misc.2d 68, 802 N.E.2d 745, 750 (2003).

A plaintiff alleging a violation under the TCPA "need not allege any additional

harm beyond the one Congress has identified.” Van Patten v. Vertical Fitness Grp.,

2 The Telephone Consumer Protection Act of 1991, 47 U.S.C. §227; 47
C.F.R.§64.1200; the Report and Order, FCC Document 92-443 et seq., (hereinafter
the "TCPA"); prohibits telemarketing to residential telephone subscribers, unless,
such entity engaged in telemarketing is in compliance with the Statutory [See 7
FCC Red 8752,8763-8765 (1992)]Requirements and Minimum Standards of the TCPA. 47
C.F.R. §64.1200 (e) (2)et seq.

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No. 14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016)(quoting

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis in original)).

If in fact, the defendants were complainant with Federally regulated
telemarketing procedures, and had the defendants subscribed to the no-call-registry as|

required by law, the calls would never have occurred. Such registry provides the

marketers, call centers and lead generators with a database of numbers to input into
their dialers or contractors dialers, making it impossible to ever call Plaintiff’s
phone. Not one of the defendants ever subscribed to the do-not-call registry.

Furthermore, while the Defendants and each of them believe Plaintiff is not
entitled to identify a caller refusing to meet the the required identification
compliance procedure upon reaching a proposed target, they add to their failing
defense that [the] Defendants were not selling “products, goods or services”. (In the
Matter of Rules and Regulations Implementing the Telephone Consumer Protection
Act of 1991; CG Docket No. 02-278; The majority of consumers and consumer groups
contend that messages offering “free” goods or services or those that claim to provide
information-only are designed with the ultimate goal of soliciting consumers to buy
products and services and are therefore prohibited without the prior express consent
of the called party. These messages, they argue, are intended to generate future sales,
and the fact that no sale occurs during the call is irrelevant to their intrusiveness.

Plaintiff will address the Defendants argument below.

PLAINTIFF'S STATE LAW CLAIMS (COUNTS ONE AND THREE) SHOULD
NOT BE DISMISSED BECAUSE PLAINTIFF IDENTIFIED AN
ASCERTAINABLE LOSS

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A. Plaintiff has alleged multiple elements of unlawful conduct by the
defendants leading to an ascertainable loss defined by the CFA. A casual, consumer
or even professional relationship between plaintiff and defendants has never existed.

The Defendants mislead this Court by improperly claiming that a CFA violation
is created through the sale of merchandise or services. This is simply not true. The
CFA, N.J.S.A. §56:8-119 addresses “do-not-call” violations. The gravamen of the
within dispute does not argue “the sale of merchandise or services” but rather the
initiation of unwanted prohibited marketing calls.

B. The defense quotes a reference to a unrelated case; Zelma v. Konikow.
This case was won on appeal, it relates to the submission of unsolicited faxes and
should not be relied upon in their brief. And as defined within Charge 4.43
CONSUMER FRAUD ACT (Approved 5/1998; Revised 12/2011); A private right of
action under the Consumer Fraud Act was added by amendment in 1971 without
providing for jury trials.

PLAINTIFF ALLEGES TCPA CLAIMS

A. The defendants admit violations to Count Two. Plaintiff received seven
(7) calls, within a twelve month period. Each call was unlawful. Each call violated
§227(c)(5) by calling a number on the federal and state no-call list. (Compl. 499).
Plaintiffs claim does not fail insofar as the defendants allege they were not offering

goods or services. Each of the defendants are not exempt organizations. Therefore,

the calls themselves are violations.

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While the defendants agree the calls were considered telephone solicitations, by
law, the callers are required to fully identify themselves under the TCPA. Plaintiff is
entitled that right. He is entitled to know the party initiating the annoying calls and
in some situations, where the callers refuse to do so, the only way is to invite the
alleged “someone else” to call back. In doing so, plaintiff succeeded in identifying
those responsible for the subject calls.

B. In Count Four of Plaintiffs complaint, a violation of the caller ID of the
TCPA, is also considered a crime. When President Obama signed 47 C.F.R.|
§64.1601(e) into law, it was deemed a felony to spoof caller ID. As promulgated
under 47 U.S.C. §227(c), Plaintiff is entitled a private right of action as he is entitled
to for any other violation under §227.

Plaintiff alleges the defendants used an automatic telephone dialing system
(ATDS) to initiate the calls. Plaintiff does not seek damages for the ATDS use
therein. Defendants are confused.

The use of an ATDS forms a corrogatio of the defendants in this consortium.
Through discovery, plaintiff will demonstrate how defendant GenRenew acted in
concert with defendant SunPower to disseminate their products and _ services.
Plaintiff will show through defendants phone records and sales agreements where the
use of an overseas call center and an ATDS was used to initiate the unlawful calls

while hiding the actual identity of the principals behind the calls.

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Plaintiff believes and thereby avers where the known defendants instructed and
directed the yet unknown overseas entities to avoid identifying themselves and
others until and unless the called party showed interest in the[ir] offering.

Defendant SunPower is alleged to manufacture solar panels. Defendant
GenRenew is alleged to be a master dealer for SunPower. The scheme of their calls
was to interest a home-owner in obtaining free electricity or at best, little cost.
Eventually the defendants “inquiry about alternative energy” would in fact, lead to
the offer of products, goods or services from the known defendants.

C. As a result of the defendants willful or knowing initiation of marketing
calls to Plaintiff, by their willfully spoofed calls, by their failure to register and
subscribe to the federal and state no call list, Plaintiff is entitled to statutory trebled

damages.

CONCLUSION

It should first be noted; the within matter was agreed to settlement in principle
on or about January 6, 2020. During that time, Mr. Freijomil would not send
supportive documents, claiming “the matter takes time.” At that same time, untrue
negative descriptions surfaced with defaming statements from (Defendant) co-counsel
John D. Coyle.

When Plaintiff addressed the matter, and after repeatedly asking for settlement
papers, Mr. Freijomil claimed that Plaintiff paused the process. To date and at the

time of this writing, Plaintiff has not received any papers testifying to a settlement.

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For the foregoing reasons, Plaintiff respectfully requests This Court to deny the
defendants motion to dismiss in its entirety, thus allowing Plaintiff to proceed with
appropriate discovery in the matter.

Alternatively; since the defense alludes to Plaintiff not having Article III
Standing (Def. Brief, Mtn. to Dismiss, pg 13) and if This Court believes Plaintiff
lacks Article III Standing under the Constitution, Plaintiff respectfully request that
the within matter be Remanded back to State Court.

Respectfully submitted;

Richard M. Zelma Dated: January 17, 2020
PLAINTIFF, pro se

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